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                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

REGINALD PUGH,

               Plaintiff,

v.                                                           No. 1:13-cv-01203-JDB-egb

MIDLAND NATIONAL LIFE
INSURANCE COMPANY,

            Defendant.
______________________________________________________________________________

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


       COMES NOW the Plaintiff, Reginald Pugh, by and through counsel, pursuant to Federal

Rule of Civil Procedure 41(a)(1)(i), and gives notice of the voluntary dismissal of this action

without prejudice.

       DATED this the 2nd day of August, 2013.

                                                     Respectfully submitted,

                                                     GILBERT RUSSELL McWHERTER PLC

                                                     s/ Clinton H. Scott
                                                     CLINTON H. SCOTT #23008
                                                     J. BRANDON MCWHERTER #21600
                                                     101 North Highland
                                                     Jackson, Tennessee 38301
                                                     (731) 664-1340
                                                     (731) 664-1540

                                                     ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

      I hereby certify that I have served a true and exact copy of the foregoing on the 2nd day of
August, 2013 through the Court’s ECF system to all counsel of record.


                                                     s/ Clinton H. Scott
 




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